                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:
                                                              Chapter 11
    BOY SCOUTS OF AMERICA AND
    DELAWARE BSA, LLC,1                                       Case No. 20-10343 (LSS)

                         Debtors.                             (Jointly Administered)

      NOTICE OF AGENDA OF MATTERS SCHEDULED FOR STATUS CONFERENCE
            HEARING ON AUGUST 18, 2022, AT 11:00 A.M. EASTERN TIME

      This remote status conference will be conducted entirely over Zoom and requires all
      participants to register in advance. Please register by August 18, 2022, at 8:00 a.m.
                                         Eastern Time.

                 COURTCALL WILL NOT BE USED FOR THIS HEARING.

                     Please use the following link to register for this hearing:

    https://debuscourts.zoomgov.com/meeting/register/vJIsde2oqzkiHRdGF598m3YEOtgtr2oVMy8

       After registering your appearance by Zoom, you will receive a confirmation email
                   containing information about joining the status conference.

                                    Topic: Boy Scouts of America

             Time: August 18, 2022, at 11:00 a.m. Eastern Time (US and Canada)


STATUS CONFERENCE

         Status: Please take notice that at the direction of the Court a status conference will be held.



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     The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
     The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
Dated: August 15, 2022        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                              /s/ Paige N. Topper
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                              – and –
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                              ATTORNEYS FOR THE DEBTORS AND
                              DEBTORS IN POSSESSION




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